Case 2:03-cV-02330-SHI\/|-cgc Document 397 Filed 06/01/05 Page 1 of 5 Page|D 692

 

IN THE UNITED sTATEs DISTRJCT COURT Fuize er ._wi\;”j`D-C-
FoR THE WESTERN DISTRICT or TENNESSEE h_ 03
WESTERN DIVIsIoN 05 JUN »\ PH -
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LBCTROLARM CUSTOM sYs'rEMs, rNC_, WD_ mi m h._»,;:,.m
Plaintiff,
VS' No_ 03-2330-Ma/An

VICON INDUSTRIES, INC., et al.

Defendants.

 

ORDER ALLOWING MEMORANDUM TO EXCEED PAGE LIMITATION

 

Before the court is the May 31, 2005 motion filed by Defendant Sensormatic requesting
permission to exceed the Local Rule page limitation For good cause shown, the court grants the

motion. Defendant Sensormatic may exceed the twenty (20) page limitation

|s\»

IT lS SO ORDERED this day ofJune, 2005.

J//t///*W

SAMUEL H. MAYS, JR.
UN"[TED STATES DISTRICT COURT

 

Tttts document entered on the docket sheet ln comptlance

with Fiufe 58 and/or 79(a) FHCP on fe “o?'C.'/*[’)' FQ

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Honorable Sarnuel Mays
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